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                          COMMONWEALTH OF MASSACHUSETTS
                            SUPERIOR COURT DEPARTMENT

  SUFFOLK,SS.

 EILEEN TAYLOR,
 on behalf of herself and all others similarly
 situated,
                                  Plaintiff,

                     v.                                    CIVIL ACTION NO. 19-1961H

 NAPHCARE,INC.

                                 Defendant.


                                            ANSWER

        Defendant NaphCare, Inc. hereby answers the putative class action complaliled
                                                                              rt.a    by
                                                                                           c0
                                                                                     (r)
Eileen Taylor.

                                          Introduction)

        1. NaphCare admits that it previously employed Ms. Taylor as an hourly worker, denies

that other hourly workers are similarly situated, and denies that Ms. Taylor has adequately alleged

any claim, cause of action, or entitlement to relief. The allegations of Ms. Taylor's Complaint

otherwise speak for themselves and are responded to below.

                                                 Parties

        2. NaphCare admits that Ms. Taylor was previously employed as a physician assistant

treating patients detained at the Essex County Jail & House of Corrections in Middleton,

Massachusetts ("Jar)from September 19, 2016 until June 2018. Upon information and belief,

NaphCare admits that Ms. Taylor is a citizen of Massachusetts, but NaphCare is without sufficient



       'This and all other headings from the Plaintiffs' Complaint are included here for ease of
reference.


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knowledge or information to form a belief about the truth of the allegation in paragraph 2 of Ms.

Taylor's town of residence and on that basis denies that allegation. NaphCare denies the remaining

allegations of paragraph 2.

        3. NaphCare admits that it is a foreign corporation that has done business in Essex County,

Massachusetts and does business in Suffolk County, Massachusetts. NaphCare denies the

remaining allegations of paragraph 3.

                                        Factual Allegations

       4. NaphCare admits that it previously employed Ms. Taylor as a physician assistant

treating patients detained at the Jail from September 19, 2016 until June 2018. NaphCare also

admits that Ms. Taylor took a medical leave before her employment with NaphCare ended.

NaphCare denies the remaining allegations of paragraph 4.

       5. Admitted.

       6. Admitted.

       7. NaphCare admits that the Jail requires everyone entering the facility to pass through an

initial security check point. NaphCare further admits that the Jail, not NaphCare,uses a finger print

scanner at the initial security check point to record the presence of anyone who regularly enters

the facility, which included NaphCare employees. NaphCare denies the remaining allegations of

paragraph 7.

       8. NaphCare admits that its employees were subject to Jail policies and procedures while

on the Jail premises.

       9. NaphCare admits that the Jail uses sally ports to control and monitor the facility, that

its employees had to pass through these sally ports at various times, and that custody officials at

the Jail could hold individuals in a sally port if needed for the safety and security of the Jail.



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NaphCare denies that shift change times for NaphCare employees necessarily corresponded to

other shift changes or "busy" shift change times, denies that NaphCare employees were necessarily

held at sally ports while safety or security incidents were resolved, and denies that it took 15-30

minutes to pass through sally ports necessarily or characteristically, if ever. NaphCare denies the

remaining allegations of paragraph 9.

        10. NaphCare admits that when its employees arrived at the Jail's infirmary, they clocked

in on a NaphCare computer and began their workday, and that they were paid for time after

clocking in on a NaphCare computer. NaphCare denies the remaining allegations of paragraph 10.

        11. NaphCare admits the allegations of paragraph 11 only as to the time between when its

employees clocked in and clocked out on NaphCare computers. NaphCare denies the remaining

allegations of paragraph 11.

        12. 454 CMR 27.02 speaks for itself. Therefore, the allegations of paragraph 12 require no

response from NaphCare.

       13. Denied.

       14. NaphCare is without sufficient knowledge or information to form a belief about the

truth of the allegations in paragraph 14 and on that basis denies these allegations.

                                      Allegations as to Class

       15. The allegations of paragraph 15 speak for themselves. Therefore, they require no

response from NaphCare.

       16. Denied.

       17. Denied.

       18. Denied.




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        19. NaphCare is without sufficient knowledge or information to form a belief about the

truth ofthe allegations in paragraph 19 and on that basis denies these allegations.

        20. Denied.

        21. Denied.

                                              Count I
                              Failure to Pay Wages-Massachusetts Law
                                           (Class Action)

              NaphCare denies the allegations ofthe first sentence ofthe paragraph in the Complaint

beginning with "As set forth above . . . ." The second sentence of the paragraph in the Complaint

beginning with "As set forth above . . . ." states a conclusion of law to which no response is

required, and NaphCare denies that Ms. Taylor has pleaded any proper or adequate claim.

              NaphCare denies all factual allegations in the "Wherefore" paragraph, denies that class

certification is appropriate, and denies that the Plaintiff or any of the purported members of the

putative class are entitled to any relief whatsoever.

                         AFFIRMATIVE OR ADDITIONAL DEFENSES

        Without conceding that it has any particular burden of pleading, production, or proof, or

the jurisdiction of this Court, NaphCare asserts the following additional defenses and reserves the

right to raise additional defenses as warranted by further investigation and discovery in this case.

         1.      The Plaintiff's claims,and the claims ofthe purported members ofthe putative class

defined in the Complaint, are barred in whole or in part for failure to state a cause of action upon

which relief may be granted.

        2.       The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred in whole or in part by the applicable statutes of limitations.

        3.       The Plaintiff and/or purported members of the putative class lack standing.



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         4.     Plaintiff's claims and the claims ofthe purported members ofthe putative class are

barred in whole or in part by the doctrine of de minimis non curet lex.

         5.    The claims of the Plaintiff and/or purported members of the putative class are

barred, in whole or in part, by their failure to take reasonable actions to avoid and/or minimize the

harm the Plaintiff and the purported members ofthe putative class claim to have sustained.

        6.     The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred by their failure to exhaust their administrative remedies.

        7.     The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred by the doctrines ofestoppel, laches, unclean hands, in part delictro, ratification, release,

consent, acquiescence, waiver, and other, similar doctrines, or because such claims have been

discharged and/or abandoned.

        8.     The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred, in whole or in part, by the doctrines of res judicata, collateral estoppel, claim

preclusions, and/or issue preclusion.

        9.     The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred to the extent the Defendant has been unduly prejudiced by their failure to diligently

pursue their claims against it.

        10.    The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred by the doctrines ofaccord and satisfaction, estoppel, laches, waiver, setoff, and payment.

        11.    The Plaintiff's claims and the claims ofthe purported members ofthe putative class

are barred in whole or in part because no action of the Defendant proximately caused any injury

or damage allegedly suffered by the Plaintiff or any member of the putative class.




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          12.   The Plaintiffs claims and the claims ofthe purported members ofthe putative class

are barred in whole or in part because the claimed injuries and damages were not proximately

caused by, or did not have any causal connection with, any acts or omissions ofthe Defendant.

         13.    The Plaintiffs claims and the claims ofthe purported members ofthe putative class

are barred, in whole or in part, as a result ofthe acts ofthird parties over whom the Defendant had

no control.

         14.    The Plaintiffs claims and the claims ofthe purported members ofthe putative class

are barred in whole or in part as a result ofthe non-joinder of necessary and indispensable parties.

In addition, the Plaintiff s claims and the claims of the purported members of the putative class

are barred because said claims seek to impose duties on and/or affect the rights of absent third

parties, which is contrary to law and in violation of the Constitutions ofthe United States and the

Commonwealth of Massachusetts.

         15.    The Defendant denies that it is liable for any wrongful conduct giving rise to a cause

of action in favor of the Plaintiff or any purported member ofthe putative class.

         16.    The Plaintiffs claims and the claims ofthe purported members ofthe putative class

are barred in their entirety because the alleged injuries, if any, were the result of actions of the

Plaintiff, purported members of the putative class, or parties other than NaphCare. In the

alternative, to the extent persons or entities other than NaphCare are at least partially at fault with

respect to the matters complained of, although no fault of NaphCare or any other person or entity

is admitted hereby or herein, any recovery by the Plaintiffor the purported members ofthe putative

class, should be reduced by the proportion of such damages, if any, caused by such other persons

or entities.




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         17.    The Plaintiff's claims and the claims ofthe purported members ofthe putative class

against the Defendant should be dismissed, in whole or in part, because the Defendant has

complied with all applicable statutes and regulations, including M.G. L. c. 149, § 148.

         18.    The Plaintiff's claims and the claims ofthe purported members ofthe putative class

against the Defendant should be dismissed, in whole or in part, because at all times, the Defendant

conducted itself with a good faith and reasonable belief, including without limitation reliance on

Massachusetts case law, written administrative regulations, orders, rulings, guidelines, approvals,

interpretations, practices, enforcement policies of government agencies, and interpretive guidance

from the Attorney General, that its actions did not violate any statute, rule, or regulation.

         19.   The Plaintiff's claims are subject to the requirements of proof and limitations

placed on the award of damages under Massachusetts law.

        20.    The Defendant asserts that neither the Plaintiff nor any purported member of the

putative class has suffered any actual damages.

        21.    The Plaintiffs claims and the claims ofthe purported members ofthe putative class

are barred in whole or in part because the damages sought by Plaintiff on behalf of the alleged

class are too speculative to be permitted and cannot be recovered without specific proof of injury

and damage by each putative class member.

        22.    If any damages have been sustained by the Plaintiff or any purported member of

the putative class, although such is not admitted hereby or herein and is specifically denied, the

equitable doctrine of setoff and recoupment entitles NaphCare to offset all obligations of the

Plaintiff or any purported member of the putative class owed to NaphCare against any judgment

that may be entered against NaphCare.




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         23.    NaphCare reserves the right to seek indemnification for any fees and damages

related to this matter.

         24.    To the extent the Complaint seeks equitable relief, such relief is barred by: (i) the

existence of an adequate remedy at law, (ii) the lack of irreparable harm to the Plaintiff or any

purported member of the putative class, (iii) governing standards of equity and good conscience,

and (iv) inequitable conduct by the Plaintiff and the purported members of the putative class.

Further, equitable relief is also barred because the resulting harm to NaphCare outweighs any

potential harm to the Plaintiff or any purported member of the putative class, the requested

equitable relief would impose an undue hardship on NaphCare, and the public interest would not

be served by the equitable relief sought.

         25.    The Plaintiff and the purported members of the putative class cannot meet the

prerequisites of Rule 23 for class certification, including, but not limited to, class ascertainability,

numerosity, commonality, manageability, similarity, typicality, predominance, superiority, and

adequacy of the class representative.

        26.     The Plaintiff is an inadequate class representative because she has sustained no

damages and does not have a viable claim against the Defendant.

        27.     The Plaintiff is not competent to act as a proper representative ofthe putative class

defined in the Complaint because the Plaintiffs interests and circumstances are not representative

of the individuals that the Plaintiff seeks to represent.

        28.     Class certification is inappropriate as individual issues predominate.

        29.     The Plaintiffs claims and the claims ofthe purported members ofthe putative class

are barred in whole or in part because they seek to hold the Defendant liable for their commuting

time to work which is contrary to public policy.



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        30.    Certification ofa class, as applied to the facts and circumstances ofthis case, would

violate NaphCare's rights under the Constitutions of both the United States and the

Commonwealth of Massachusetts, including, but not limited to, its procedural rights, right to trial

by jury, and its right to substantive and procedural due process.

        31.    Upon discovery of sufficient facts, the Defendant reserves the right to raise the

defense of after acquired evidence.

                                RESERVATION OF RIGHTS

       The Defendants hereby reserve the right to file such additional defenses as may become

apparent during the course of discovery.


Dated: July 26, 2019


                                             Defendant NaphCare, Inc.


                                             By:
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                                              Attorneys for NaphCare, Inc.




                                 CERTIFICATE OF SERVICE

        I, Jeffrey A. Dretler, attorney for the Defendant in the above-referenced matter, hereby
certify that on this 26th day of July, 2019, I served the within document upon Plaintiff's attorney
by sending a copy via electronic mail and First Class Mail, postage prepaid to:

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